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                        In the United States District Court
                             for the District of Kansas



United States of America,
                 Plaintiff,

v.                                                    Case No. 21-10068-01 JWB

Dustin Kenneth Strom,
                Defendant.



                       Motion for a Pretrial James Hearing


     Dustin Kenneth Strom asks this Court to schedule a pretrial hearing, pursuant

to Federal Rule of Evidence 104, to determine whether any alleged co-conspirator

statements are admissible under FRE 801(d)(2)(E). This rule holds that certain

statements by non-testifying co-conspirators may not be excluded as hearsay. A

pretrial hearing, commonly known as a James hearing, will allow the parties to

identify the controverted statements and the Court to determine admissibility

before trial.

     1. Relevant Facts

     Multiple counts of this prosecution are built primarily on written or spoken

words. Counts 1 and 2 of the Superseding Indictment charge two separate

conspiracies between Dustin Strom and Thommie-Lyn Stansky to violate the law.

Count 10 of the Superseding Indictment charges a conspiracy between Dustin

Strom and Dillon Everman to violate the law. Specifically, Count 1 alleges a
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conspiracy between Strom and Stansky to produce child pornography involving

Minor Victim 1. Count 2 alleges a conspiracy between Strom and Stansky to

produce child pornography involving Minor Victim 2. Count 10 alleges a conspiracy

between Strom and Everman to produce child pornography involving Minor Victim

1. The essence of a conspiracy “is an agreement to commit an unlawful act.” 1 Here,

the alleged conspiracies are based on in-person communications and messages

exchanged through various online messaging applications.

      The discovery provided in this case by the government reflect the government

will likely attempt to establish the three conspiracies largely through the

presentation of alleged electronic communications between Mr. Strom and his

codefendants. Thousands of such communications have been provided to counsel in

discovery. As of now, it is unknown who among these speakers will testify at trial.

      2. Legal Framework

Generally, hearsay is inadmissible at trial. 2 This is rooted in the Sixth Amendment

promise that an accused will have opportunity to confront their accusers.2 The law

allows, however, some exceptions, including those statements made by co-

conspirators made in furtherance of the conspiracy, 3 that is, statements “directing

the conduct of a fellow conspirator or agreeing to follow directions.” 4 This exception

is codified in FRE 801(d)(2)(E):


1   Iannelli v. United States, 420 U.S. 770, 777 (1975).
2   Crawford v. Washington, 541 U.S. 36, 42 (2004).
3Crawford, at 56 (“statements in furtherance of a conspiracy” are examples of “statements that by
their nature [are] not testimonial.”).
4   United States v. Faulkner, 439 F.3d 1221, 1226 (10th Cir. 2006).

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           (d) Statements That Are Not Hearsay. A statement that meets the following
           conditions is not hearsay:
               (2) An Opposing Party’s Statement. The statement is offered against an
               opposing party and:
                   (E) was made the party’s coconspirator during and in furtherance of the
                   conspiracy.
The Tenth Circuit noted that, although this is labeled as non-hearsay, the Supreme

Court has consistently refers to it as a hearsay exception. 5 The statements should

reveal the existence of an agreement to violate the law, rather than offered for the

truth of the matter asserted. 6

           2.1 Request for a James hearing

      Federal Rule of Evidence 104(a) provides: “Preliminary questions concerning . . .

the admissibility of evidence shall be determined by the court.” The admissibility of

unsworn, out-of-court statements is preliminary questions that should be resolved by

the court pretrial, 7 commonly known as a James hearing. 8 A pretrial determination

would be more efficient and economical than a mid-trial interruption. It will also

better allow the parties to assess the evidence and prepare for trial. The Tenth Circuit

encourages James hearings to avoid mid-trial complications. 9




5   Id. at 1227, n. 1.
6   Id. at 1226-27.
7 Bourjaily v. United States, 483 U.S. 171, 175 (1987) (“Petitioner and the Government agree that the

existence of a conspiracy and petitioner's involvement in it are preliminary questions of fact that,
under Rule 104, must be resolved by the court.”).
8United States v. Townley, 472 F.3d 1267, 1273 (10th Cir. 2007) (discussing a James hearing, citing
United States v. James, 590 F.2d 575, 582 (5th Cir. 1979)).
9   United States v. Urena, 27 F.3d 1487, 1491 (10th Cir. 1994).

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        2.2 Burden and Order of Proof

     The proponent of the unsworn, out-of-court statement must prove by a

preponderance that the defendant was a party co-conspirator and that the statement

was during and in furtherance of that conspiracy. 10 Five foundational facts must be

established: 11 1) the existence of a conspiracy; 2) that the declarant was a member of

that conspiracy; 3) that the defendant was a member of the conspiracy; 4) the

statement was made during the course of the conspiracy; and 5) the statement was

made in furtherance of the conspiracy.

     Conspiracy is defined generally as an agreement between two or more people to

violate the law. 12 The proponent must prove that there was a conspiracy, and that

the defendant against whom the unsworn, out-of-court statement will be admitted

was a party to that conspiracy. The declarant does not need to be formally charged

with the conspiracy, but must be a member of the conspiracy. The rule further

provides that, “The statement must be considered but does not by itself establish the

. . . . the existence of the conspiracy or participation in it under (E).”

     Not all statements made by co-conspirators are admissible under FRE 801

(d)(2)(E). “[M]ere narratives between co-conspirators or narrative declarations of past

events are not ‘in furtherance’ of the conspiracy.” 13 Conversations, even “casual




10 Bourjaily, 483 U.S. at 175 (“The preponderance standard ensures that before admitting evidence,
the court will have found it more likely than not that the technical issues and policy concerns
addressed by the Federal Rules of Evidence have been afforded due consideration.”).
11 See United States v. Urena, 27 F.3d at 1490 (listing these elements in three categories).
12 Ocasio v. United States, 578 U.S. 282 (2016).
13 United States v. Roberts, 14 F.3d 502, 514-515 (10th Cir. 1993).


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admissions of culpability,” are not in furtherance of the conspiracy “where the

statement serves no immediate or future conspiratorial purpose.” 14

     The proposed statement must have been made “during” the conspiracy. This may

be a different timeframe for each defendant. For example, Dustin Strom was arrested

on August 23, 2021. As an alleged party co-conspirator, any statements made by other

co-conspirators after his arrest were not “during” Mr. Strom’s alleged conspiracy. 15

Therefore, statements by co-conspirators made after Mr. Strom’s arrest would not be

admissible against him under this rule, even if they were admissible against one of

the other defendants.

     3. Procedure

     The defense proposes that the government identify which statements it intends to

offer under FRE 801(d)(2)(E). If the defense agrees that it is admissible for that

purpose, we will affirm that. If, however, the defense takes issue, we will present the

matter to the Court for pretrial determination. The government, as proponent, will

have the burden of establishing the five categories set out above. 16

     A pretrial determination is critical for several reasons. First, it will better allow

the parties to focus on the evidence that will be admitted and craft the theories of

prosecution and defense on the evidence that will be admitted. Second, it will inform

whether there are related issues, such as severance, that need to be addressed before


14 United States v. Wolf, 839 F.2d 1387, 1393 (10th Cir. 1988).
15 See Krulewitch v. United States, 336 U.S. 440, 442 (1949) (“[A]t the time the conversation took
place, the complaining witness, the alleged co-conspirator, and the petitioner had been arrested.”
Statements were not admissible under this rule, as the object of the conspiracy has already failed;
statements to conceal the conspiracy were not in furtherance of the conspiracy.).
16 Even if the statements are admissible for FRE 801(d)(2)(E), the defense reserves the right to object

on other evidentiary or constitutional grounds.

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the jury is empaneled. Third, if the evidence is admitted only for limited purposes,

the parties will be prepared to request a limiting instruction. 17 Fourth, it allows the

parties to assess trial liability and perhaps better inform the need for non-trial

resolution. And finally, the Tenth Circuit encourages pre-trial determination of co-

conspirator statement admissibility.

                                   CONCLUSION

      The defense asks the Court to grant this motion and order a pre-trial James

hearing to determine the admissibility of statements alleged coconspirators and for

an Order requiring the government to identify such statements.

                                        Respectfully submitted,


                                        s/David Freund
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                           CERTIFICATE OF SERVICE

   I hereby certify that I electronically filed the foregoing with the Clerk of the
Court on May 9, 2022, by using the CM/ECF system, which will send a notice of
electronic filing to all parties.

                                        s/David Freund
                                        DAVID FREUND, #17736



17   Fed. R. Evid. 105

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